Case 1:19-cv-00197-REB-NRN Document 1 Filed 01/23/19 USDC Colorado Page 1 of 5




                               IN UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

  Civil Action No.: ______


  Tina Mehaffey,

             Plaintiff,

  Navient Solutions, LLC,

             Defendant.


                                              COMPLAINT


          For this Complaint, the Plaintiff, Tina Mehaffey, by undersigned counsel, states as

  follows:

                                             JURISDICTION

          1.        This action arises out of Defendant’s repeated violations of the Telephone

  Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”).

          2.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

  Defendant transacts business in this District and a substantial portion of the acts giving rise to

  this action occurred in this District.

                                                 PARTIES

          3.        Plaintiff, Tina Mehaffey (“Plaintiff”), is an adult individual residing in Loveland,

  Colorado, and is a “person” as defined by 47 U.S.C. § 153(39).

          4.        Defendant Navient Solutions, Inc. (“Navient”), is an Arizona business entity with

  an address of 12061 Bluemont Way, Reston, Virginia 20190, and is a “person” as defined by 47

  U.S.C. § 153(39).
Case 1:19-cv-00197-REB-NRN Document 1 Filed 01/23/19 USDC Colorado Page 2 of 5




                                               FACTS


         5.      In or around July 2018, Navient started calling Plaintiff’s cellular telephone,

  number 916-xxx-2283, in an attempt to reach a person other than Plaintiff.

         6.      At all times mentioned herein, Navient contacted Plaintiff using an automated

  telephone dialer system (“ATDS” or “predictive dialer”) and/or by using an artificial or

  prerecorded voice.

         7.      When Plaintiff answered Navient’s calls, she heard a prerecorded message

  requesting a call back.

         8.      On several separate occasions, Plaintiff spoke with Navient in an effort to get the

  calls to stop. Plaintiff informed Navient that she was being reached in error and directed Navient

  to remove her numbers from the account, and cease all communications with her.

         9.      Nonetheless, Navient continued to place automated calls to Plaintiff’s cellular

  telephone.

                                     COUNT I
                    VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, ET SEQ.


         10.     The Plaintiff incorporates by reference all of the above paragraphs of this

  Complaint as though fully stated herein.

         11.     At all times mentioned herein and within the last four years, Defendant called

  Plaintiff on her cellular telephone using an ATDS or predictive dialer and/or by using a

  prerecorded or artificial voice.

         12.     Plaintiff never provided her cellular telephone number to Defendant and never

  provided her consent to be contacted on her cellular telephone.




                                                   2
Case 1:19-cv-00197-REB-NRN Document 1 Filed 01/23/19 USDC Colorado Page 3 of 5




          13.    Without prior express consent, Defendant contacted Plaintiff by means of

  automatic telephone calls or prerecorded messages at a cellular telephone in violation of 47

  U.S.C. § 227(b)(1)(A)(iii).

          14.    Defendant continued to place automated calls to Plaintiff’s cellular telephone after

  being advised multiple times it had the wrong number and knowing there was no consent to

  continue the calls. As such, each call placed to Plaintiff was made in knowing and/or willful

  violation of the TCPA, and subject to treble damages pursuant to 47 U.S.C. § 227(b)(3)(C).

          15.    The telephone number called by Defendant was assigned to a cellular telephone

  service for which Plaintiff incurs charges for incoming calls pursuant to 47 U.S.C. § 227(b)(1).

          16.    The calls from Defendant to Plaintiff were not placed for “emergency purposes”

  as defined by 47 U.S.C. § 227(b)(1)(A)(i).

          17.    Each of the aforementioned calls made by Defendant constitutes a violation of the

  TCPA.

          18.    Plaintiff is entitled to an award of $500.00 in statutory damages for each call

  placed in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

          19.    As a result of each call made in knowing and/or willful violation of the TCPA,

  Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

  U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                      PRAYER FOR RELIEF

          WHEREFORE, the Plaintiff prays that judgment be entered against Defendant:

                 A. Statutory damages of $500.00 for each violation determined to be negligent

                    pursuant to 47 U.S.C. § 227(b)(3)(B);




                                                   3
Case 1:19-cv-00197-REB-NRN Document 1 Filed 01/23/19 USDC Colorado Page 4 of 5




                B. Treble damages for each violation determined to be willful and/or knowing

                   pursuant to 47 U.S.C. § 227(b)(3)(C);

                C. Such other and further relief as may be just and proper.

                      TRIAL BY JURY DEMANDED ON ALL COUNTS

  Dated: January 23, 2019

                                                      Respectfully submitted,

                                                      By /s/ Sergei Lemberg

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                                                  4
Case 1:19-cv-00197-REB-NRN Document 1 Filed 01/23/19 USDC Colorado Page 5 of 5
